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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                      )
KATHEENA NEVIA SONEEYA, f/k/a                         )
Kenneth Hunt,                                         )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    )      Civil Action No. 07-12325-DPW
                                                      )
THOMAS A. TURCO III, in his official                  )
capacity as Commissioner of the                       )
Massachusetts Department of Correction,               )
                                                      )
                       Defendant.                     )
                                                      )

     PLAINTIFF’S ASSENTED TO MOTION FOR LEAVE TO FILE UNDER SEAL

       Plaintiff Katheena Nevia Soneeya (“Ms. Soneeya” or “Plaintiff”), through counsel,

respectfully moves the Court, with agreement from Defendant, pursuant to Local Rule 7.2 and the

Protective Order governing this action, (Dkt. No. 252), for permission to file under seal the

Plaintiff’s Objections to Defendant’s Direct Affidavit.

       The documents designated are “Confidential” pursuant to Section 1 of the Protective Order.

Dkt. No. 252. Because these documents contain confidential information pertaining to Defendant

and inmates other than Plaintiff, as well as to the security and layout of Department of Corrections

facilities, Ms. Soneeya respectfully requests that these documents be filed under seal pursuant to

Section 3 of the Protective Order.

       Pursuant to Local Rule 7.1, counsel for Ms. Soneeya has conferred with counsel for

Defendant and Defendant’s counsel has assented to this Motion.

       Ms. Soneeya will file a hard copy of the Plaintiff’s Objections to Defendant’s Direct

Affidavit under seal and with the Clerk’s Office on June 13, 2019.




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       WHEREFORE, Ms. Soneeya respectfully requests that the Court grant her motion to file

under seal the foregoing documents. Further, pursuant to Local rule 7.2, Ms. Soneeya proposes

that the impounding Order continue until further order of the Court.



Dated: June 13, 2019                                 Respectfully submitted,

                                                     /s/ Anne F. Hancock
                                                     Anne F. Hancock (BBO # 691884)
                                                     Patrick Roath (BBO # 690603)
                                                     Sara Bellin (BBO # 698900)
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                                                     Soneeya




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        LOCAL RULE 7.1 CERTIFICATION AND CERTIFICATE OF SERVICE

       Pursuant to Local Rule 7.1, the undersigned counsel hereby certifies that on June 13, 2019,

Plaintiff’s counsel conferred via email with Defendant’s counsel regarding the relief sought herein.

Defendant assented to the relief requested.

       I further certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF).


Dated: June 13, 2019                                         /s/ Anne F. Hancock
                                                             Anne F. Hancock
